Case 1:05-cv-01032-.]DT-STA Document 53 Filed 07/13/05 Page 1 of 2 /‘%§@e|D 27

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IN THE UNITED STATES DISTRICT COURT§/j u° 65 ~\ 490
FOR THE WESTERN DISTRICT oF TENNESSEB 90 13 “"

EASTERN DIVISION /gf»/J»Q 430 ‘5>
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WOOD M. DEMING, M.D., REGIONAL
CARDIOLOGY CONSULTANTS, P.C.,

Plaintiffs,
VS. NO. 05-1()32»"1`

JACKSON-MADISON COUNTY GENERAL
HOSPITAL DISTRICT, et al.,

Defendants.

ORDER OF REFERENCE

Defendants’ Motion to Postpone Scheduling Conference and Entry of a Scheduling
Order and to Temporarily Suspend Defendants’ Obligations Under Rule 26 and Motion for
Protective Order to Stay Discovery are hereby referred to United States Magistrate Judge
Thomas Anderson for disposition

IT IS SO ORDERED.

@»WAZ>~M

JAM D. TODD
D STATES DISTRICT IUDGE

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DATE

ThTs document entered on the docket sheet in compliance
with Rule 58 and,-'or_?Q (a) FRCP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
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Honorable J ames Todd
US DISTRICT COURT

